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                         UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA


    DONALD J. TRUMP

                Plaintiff,

          v.                                   Case No. 2:22-cv-14102-DMM

    HILLARY R. CLINTON et al.,

                Defendants.


        DEFENDANTS FUSION GPS, GLENN SIMPSON, AND PETER FRITSCH’S
                 MOTION TO DISMISS THE COMPLAINT AND
                    MEMORANDUM OF LAW IN SUPPORT



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                                            INTRODUCTION

             Defendants Bean LLC, d/b/a Fusion GPS, 1 Glenn Simpson, and Peter Fritsch (the “Fusion

   Defendants”) move to dismiss the Complaint with prejudice because the claims are time-barred

   and the Complaint fails to state a claim for relief.

            The Complaint—a lengthy jumble of incorrect statements of fact—alleges a conspiracy

   over the course of 2016 and early 2017 designed to damage Plaintiff Donald Trump’s political

   fortunes. Trump alleges that the Fusion Defendants conspired with other defendants to violate

   RICO, 18 U.S.C. § 1962(c), “for the express purpose of injuring the Plaintiff’s political career

   and/or impeding his ability to effectively govern through a pattern of racketeering activity,” which,

   according to Trump, consisted of alleged theft of trade secrets and conspiracy to steal trade secrets,

   Compl. ¶¶ 284–95, and alleged obstruction of justice and a conspiracy to obstruct justice, id.

   ¶¶ 296–311. Trump does not allege that the Fusion Defendants violated a substantive RICO

   provision and instead only alleges they violated the RICO conspiracy provision, 18 U.S.C.

   § 1962(d) (Count II). In addition, Trump alleges the following Counts against the Fusion

   Defendants: Conspiracy to Commit Injurious Falsehood (Count IV); Malicious Prosecution (Count

   V, against Fritsch and Simpson); Conspiracy to Commit Malicious Prosecution (Count VI, against

   Fritsch and Simpson); and “Respondeat Superior/Vicarious Liability” (Count XIV, against Fusion

   GPS only).

            While the Fusion Defendants strongly dispute the Complaint’s allegations and insinuations

   about them, their firm, and their work, this motion treats nonconclusory allegations made in the

   Complaint as though they are true—as a motion to dismiss must at this stage of litigation. Even




   1
       Named in the complaint as Fusion GPS.
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   affording the Complaint this generous standard of review, it fails entirely to state any claims

   against the Fusion Defendants.

                                           BACKGROUND

          Trump’s Complaint alleges few facts concerning the Fusion Defendants.

          Only a few meetings between the Fusion Defendants and their alleged co-conspirators are

   mentioned, and none are described with the required specificity. The Complaint alleges that in

   April 2016, Fritsch and Simpson met with Defendant Marc Elias and that this meeting was

   arranged by a “senior figure in the Democratic party.” Compl. ¶ 66. Then, it says, Fusion GPS was

   retained by Elias and his then-firm Perkins Coie and was instructed to conduct “opposition

   research for the Clinton Campaign and the DNC.” Id. ¶ 68. It is alleged that all parties understood

   that Fusion’s “true task was to prepare a fraudulent ‘dossier’” that could be used to harm Trump’s

   campaign and, if elected, his ability to serve as president. Id. ¶ 70. Just two meetings between

   Fusion and Perkins are identified: Defendants Elias and Michael Sussmann are alleged to have met

   with “personnel from Fusion GPS” on July 29, 2016, and Sussmann is said to have met with a

   Fusion representative again on August 20, 2016. Id. ¶ 168. 2 The Fusion Defendants are said to

   have “[known] that they were engaged in a conspiracy to” steal trade secrets and obstruct justice,

   and to have “agreed to facilitate” this scheme. Id. ¶¶ 320–21.

          As for Fusion’s own operations, the Complaint alleges that “in or about June 2016” the

   firm “officially retained Orbis Ltd. and Steele to find ‘links between Russia and the then

   Republican candidate . . . Donald J. Trump’” and directed Orbis, Steele, and others to “beg[in]

   preparing approximately seventeen anti-Trump memoranda known collectively as the ‘Steele



   2
    The Complaint describes these meetings as being held “[i]n the lead-up” to a meeting Sussmann
   had with the FBI general counsel on September 19, 2016. Id. ¶ 168, 170.

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   Dossier.’” Id. ¶¶ 80–81. The Complaint alleges that this dossier was “intended to . . . harm Trump’s

   candidacy” and “to induce the FBI to commence an investigation into alleged ties between Russia

   and Donald J. Trump.” Id. ¶ 84. Defendant Nellie Ohr is said to have worked for the firm around

   April 2016 and is said to have researched “Trump’s family members and campaign aides.” Id.

   ¶ 74. The Fusion Defendants are alleged to have thought that she “would be instrumental in lending

   credibility to the Steele Dossier.” Id. ¶ 76.

           The Complaint provides few details on the Fusion Defendants’ alleged roles in spreading

   alleged misinformation. In July 2016, unspecified Defendants are said to have “beg[u]n feeding

   false information to federal law enforcement . . . [and] through the media. . . . in an effort to cast

   malicious aspersions on Donald J. Trump.” Id. ¶ 131; see also id. ¶ 165 (alleging again that

   “Defendants were also spreading disinformation”). Along with other Defendants the Fusion

   Defendants are alleged to have “conspired to disseminate” claims of collusion with Russia that

   they knew were false or were reckless in failing to verify. Id. ¶ 351. Fritsch and Simpson, with

   Steele, are only said to have met with members of the media once, on September 21, 2016 “to

   discuss their investigative findings” concerning Trump’s relationships with Russia, but does not

   identify what, if any, false information they conveyed at this meeting. Id. ¶ 166. In late September

   and early October 2016, Fusion is alleged to have “coordinate[d] with” Sussmann, Elias, and

   Rodney Joffe “to disseminate the . . . allegations” of communications between the Trump

   Organization and Alfa Bank to the media. Id. ¶ 181. Fusion’s role in this dissemination is not

   described. 3 More broadly, Fritsch and Simpson allegedly acted with actual malice as they allegedly


   3
     These coordinated efforts are said to have occurred “in the weeks following” September 19, 2016,
   id. ¶¶ 179, 181, which suggests that the Fusion Defendants’ September 21, 2016 meetings with
   members of the media were not part of this coordinated effort. This means Trump has not alleged
   a single specific action concerning the Fusion Defendants’ supposed coordination with Sussmann,
   Elias, and Joffe.

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   “engaged in efforts to falsify information, documents and/or evidence, such as the Dossier” and

   allegedly conspired to “spread a false narrative in an attempt to ruin” Trump and “feed false and/or

   misleading information to the FBI and DOJ.” Id. ¶¶ 362, 371.

          Following the election, Simpson is said to have met with Bruce Ohr “to discuss Fusion

   GPS’s findings regarding Russia and the election.” Id. ¶ 195. Simpson is alleged to have provided

   Ohr with “most of the reports comprising the Steele Dossier,” and Ohr is alleged to have provided

   those reports to the FBI in December 2016. Id. ¶ 197. Simpson is also alleged to have met with

   John Podesta in January 2017 “to compare notes on Russia meddling in the election.” Id. ¶ 82.

   Finally, the Fusion Defendants are alleged to have “continued their collective mission to fabricate

   evidence and disparage Donald J. Trump” in the years since 2016. Id. ¶ 252. The Complaint states

   that an organization known as The Democracy Integrity Project has been funding these efforts. Id.

   ¶¶ 253–54. Finally, the Complaint brings the aforementioned five claims against the Fusion

   Defendants.

                                          LEGAL STANDARD

          A court faced with a motion to dismiss must determine whether a complaint contains

   “sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its face.”

   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks omitted). The plaintiff must

   have “ple[d] factual content that allows the court to draw the reasonable inference that the

   defendant is liable for the misconduct alleged.” Id. The Court should treat the complaint’s factual

   allegations as true and construe all reasonable inferences from those facts in the nonmovant's favor,

   see Hawthorne v. Mac Adjustment, Inc., 140 F.3d 1367, 1370 (11th Cir. 1998), but need not accept

   the complaint’s legal conclusions, and may reject any “[t]hreadbare recitals of the elements of a

   cause of action.” Iqbal, 556 U.S. at 678. A complaint that provides only “conclusory statements,”



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   “‘labels and conclusions’ or ‘a formulaic recitation of the elements of a cause of action’” fails to

   state a claim.” Id.

                                             ARGUMENT

     I.    THE COMPLAINT DOES NOT STATE A CLAIM FOR RICO CONSPIRACY
           AGAINST THE FUSION DEFENDANTS.

           Count I alleges a substantive RICO violation under 18 U.S.C. § 1962(c) against a subset

   of the defendants, but not against the Fusion Defendants. Count II alleges that the Fusion

   Defendants conspired with other defendants to violate RICO § 1962(d). Both Counts fail to state

   a claim for relief. The Complaint’s failure to state a claim under § 1962(c) dooms Count II’s RICO

   conspiracy claim, because “a person may not bring suit under § 1964(c) predicated on a violation

   of § 1962(d) for injuries caused by an overt act that is not an act of racketeering or otherwise

   unlawful under the statute.” Beck v. Prupis, 529 U.S. 494, 507 (2000). Because the Complaint fails

   to state a claim for relief under § 1962(c), Plaintiff cannot state a claim for a relief for RICO

   conspiracy. For this reason, Defendant Clinton’s arguments as to why the Complaint’s RICO

   claims must be dismissed are equally applicable to the Fusion Defendants, and the Fusion

   Defendants adopt and incorporate Defendant Clinton’s arguments on Count I and Count II. See

   Def. Hillary Rodham Clinton’s Mot. to Dismiss the Compl. and Mem. of L. in Supp. (“Clinton

   Br.”) at 1–15.

           A. The Statute of Limitations for RICO and RICO Conspiracy Has Run.

           The RICO allegations in the Complaint are barred by the applicable statute of limitations.

   The statute of limitations for RICO actions—including RICO conspiracy actions—is four years

   from the date when the injury was or should have been discovered. Lehman v. Lucom, 727 F.3d

   1326, 1330 (11th Cir. 2013); Agency Holding Corp. v Malley-Duff & Assocs., Inc., 483 U.S. 143

   (1987). As demonstrated in Defendant Clinton’s brief, Trump sent four tweets on October 29, 2017


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   describing the same conspiracy he now alleges in the Complaint.4 Clinton Br. at 3, Dkt. No. 52.

   As early as January 2017 he had suggested that the “dossier” was “A COMPLETE FRAUD”

   consisting of “phony allegations . . . put together by my political opponents.” 5 In May 2017 Trump

   asserted again that “the story that there was collusion between the Russians & Trump campaign

   was fabricated by Dems.” 6 The statute of limitations therefore started running no later than October

   29, 2017 and expired no later than October 29, 2021. Because the Complaint includes only

   conclusory allegations concerning the Fusion Defendants’ conduct after that date, any alleged

   injuries—including legal fees—that Trump incurred later than October 2017 are irrelevant for

   statute of limitations purposes. See Lehman v. Lucom, 727 F.3d 1326, 1331 (11th Cir. 2013)

   (“[W]hen an injury is a continuation of an initial injury it is not new and independent” such that it

   would restart the statute of limitations (internal quotations and alteration omitted)).

          B. The Complaint Does Not Plausibly Allege RICO Standing.

          The Complaint fails to plausibly allege that the alleged predicate acts directly caused

   Trump’s alleged injuries, and the Complaint should be dismissed on that basis. 18 U.S.C.

   § 1964(c). “[P]leading a civil RICO claim requires that plaintiffs plead facts sufficient to give rise

   to a reasonable inference that the claimed racketeering activity . . . was the but-for and proximate


   4
    Donald J. Trump (@realDonaldTrump), Twitter (Oct. 29, 2017 at 9:53:43 AM, 10:02:37 AM,
   10:09:51 AM, and 10:17:14 AM), archived at The Trump Twitter Archive, thetrumparchive.com.
   Federal courts have taken judicial notice of the former President’s tweets in a number of cases.
   See, e.g., Hawaii v. Trump, 859 F.3d 741, 773 n.14 (9th Cir.) (per curiam) (taking judicial notice
   of Plaintiff’s tweets), vacated on other grounds, 138 S. Ct. 377 (2017); Rock the Vote v. Trump,
   No. 20-cv-06021, 2020 WL 6342927, at *4 n.2 (N.D. Cal. Oct. 29, 2020) (same); United States v.
   Flynn, 507 F. Supp. 3d 116, 126 n.6 (D.D.C. 2020) (same).
   5
    Donald J. Trump (@realDonaldTrump), Twitter (Jan. 14, 2017 at 8:14:13 AM), archived at The
   Trump Twitter Archive, thetrumparchive.com; Id. (Jan. 13, 2017 at 6:05:55 AM).
   6
    Id. (May 12, 2017 at 7:51:56 AM); see also id. (May 8, 2017 at 6:46:00 PM) (“The Trump-Russia
   collusion story is a total hoax . . . .”); id. (Jun. 22, 2017 at 10:01:10) (referring to collusion
   allegations as “all a big Dem HOAX!”).

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   cause of the plaintiffs’ injuries.” Ray v. Spirit Airlines, Inc., 836 F.3d 1340, 1349 (11th Cir. 2016)

   (emphasis in original).

          Here, Trump cannot demonstrate a “‘direct causal connection’ between the predicate

   offense and the alleged harm.” Hemi Grp., LLC v. City of New York, N.Y., 559 U.S. 1, 10–11

   (2010); Klayman v. Clinton, No. 15-cv-80388, 2015 WL 10857500, at *6 (S.D. Fla. Aug. 11, 2015)

   (Middlebrooks, J.) (“RICO standing requires a plaintiff’s injury to be directly caused by a predicate

   racketeering act prohibited under § 1962.”) (emphasis in original). This is because Trump does not

   claim that the alleged predicate acts directly and proximately caused him to incur the vaguely

   asserted legal fees and other expenses, or to lose alleged business opportunities. See Compl. ¶ 263.

   Rather, he alleges that the Government’s investigations and proceedings caused him to incur legal

   fees and expenses. Any claimed connection between his alleged expenses and the alleged predicate

   acts is too attenuated. The direct cause of Trump’s alleged expenditures on defense costs and legal

   fees, and his alleged lost business opportunities, were the independent decisions of U.S.

   government investigators to take actions to investigate Trump, as part of their alleged “federal

   investigations and official proceedings.” Id. ¶ 263. Those decisions of federal investigators are

   many steps removed from the alleged predicate offenses of stealing “DNS internet traffic data” or

   making “false statements.” Id. ¶¶ 284, 299–302. “RICO only reaches harm that necessarily is

   caused by the predicate acts.” GolTV, Inc. v. Fox Sports Latin Am., Ltd., No. 16-cv-24431, 2018

   WL 1393790, at *9 (S.D. Fla. Jan. 26, 2018) (citing Hemi Grp., 559 U.S. at 13). The analysis of

   RICO proximate cause should not “go beyond the first step.” In re Takata Airbag Prod. Liab.

   Litig., 524 F. Supp. 3d 1266, 1284 (S.D. Fla. 2021) (dismissing RICO allegations for failure to

   meet RICO’s “strict causation requirement”) (quoting Hemi Grp., 559 U.S. at 10) (internal




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    quotation marks omitted). Here, Trump fails to plausibly allege that the alleged predicate acts are

    the “first step” in the chain of causation of his alleged injuries.

            It is not sufficient for Trump to allege that the purported economic harm was a “foreseeable

    and natural consequence” of the alleged predicate acts, see Compl. ¶ 264. “[T]he fact that an injury

    is reasonably foreseeable is not sufficient to establish proximate cause in a RICO action—the

    injury must be direct.” Ray v. Spirit Airlines, Inc., 836 F.3d 1340, 1349 (11th Cir. 2016) (citing

    Hemi Grp., 559 U.S. at 12). The Complaint should be dismissed for lack of RICO standing. 7

            C. The Elements of the RICO Predicate Acts Are Not Adequately Alleged.

            Two RICO predicate acts are identified in the Complaint—theft of trade secrets under the

    Defend Trade Secrets Act, 18 U.S.C. § 1832, and witness tampering in violation of 18 U.S.C.

    § 1512—but neither is properly alleged.

            The trade secret allegations depend on the alleged misappropriation of “DNS internet

    traffic data,” Compl. ¶ 285, but Trump did not own this data, as would be required if its theft were

    to constitute an actionable theft of trade secrets. United States v. Smith, 22 F.4th 1236, 1243 (11th

    Cir. 2022) (elements of theft of trade secrets include that “the offense would injure the owner of

    the trade secret” (emphasis added)). Nor did the allegedly stolen DNS data “derive independent

    economic value” from the fact that they are “not . . . generally known to” persons other than Trump.

    18 U.S.C. § 1839(3)(B) (defining a “trade secret”). The information is not “independently




    7
      Furthermore, it is not clear that Trump’s alleged injuries are cognizable RICO injuries. “Some
    courts interpreting RICO’s statutory language have found attorneys’ fees and legal expenses not
    to constitute an injury sufficient to confer standing under RICO.” Natural-Immunogenics Corp. v.
    Newport Trial Grp., No. 8:15-cv-02034 (C.D. Cal. Nov. 23, 2020) (citing, inter alia, Hotel, Motel,
    Restaurant & Hi-Rise Employees & Bartenders v. Pier 66 Co., 599 F. Supp. 761, 765 (S.D. Fla.
    1984)).

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    valuable” at all, and the Complaint’s assertion to the contrary is entirely unexplained and

    conclusory. See Compl. ¶ 289.

           The witness tampering allegations are also not properly alleged. The “Crossfire Hurricane”

    FBI investigation is not an “official proceeding” within the meaning of the witness tampering

    statute. 18 U.S.C. § 1515(a) (definitions). Additionally, the Complaint focuses on conduct that

    does not fit the plain language of the statute. The statute concerns, among other things, “alter[ing],

    destroy[ing], or conceal[ing] . . . record[s], document[s], or other object[s]” or “corruptly

    persuad[ing]” others to do the same or to otherwise impede investigations. 18 U.S.C. § 1512. The

    Complaint, on the other hand, alleges that certain defendants “provided falsified, altered and

    misleading records” to law enforcement. Compl. ¶ 297. Section 1512 describes a number of

    possible violations, but none of them—and no other RICO predicate act—lines up with the conduct

    alleged.

           D. A Pattern of Racketeering Activity Is Not Adequately Alleged.

           To prove that the conduct of RICO defendants “amount[s] to, or . . . otherwise constitute[s]

    a threat of, continuing racketeering activity” beyond just “multiple schemes,” a plaintiff must

    allege that the racketeering activity had characteristics of either “closed- [or] open-ended

    continuity.” H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 240–41 (1989). Closed-ended continuity

    requires that the predicate acts “extend[] over a substantial period of time”—more than nine

    months in this Circuit. Jackson v. BellSouth Telecomm., 372 F.3d 1250, 1265–66 (11th Cir. 2004).

    Plaintiffs’ timeline of alleged predicate acts, spanning seven months, is too brief. See Compl.

    ¶¶ 298–307, 311. Additionally, “a single scheme with a discrete goal” necessarily lacks closed-

    ended continuity, Jackson, 372 F.3d at 1267, and Trump has described a scheme with the “single”

    goal of harming his political career. Compl. ¶ 2. Open-ended continuity has also not been alleged

    because nothing in the Complaint amounts to anything beyond the most conclusory allegations
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    that any of the RICO defendants are likely to commit further predicate acts. See Jackson, 372 F.3d

    at 1268.

           E. The Entirely Conclusory Conspiracy Allegations Fall Short of the Pleading
              Standards.

           Finally, even if true, the allegations in the Complaint concerning the Fusion Defendants

    are too vague to state a claim for RICO conspiracy. The Complaint contains only “formulaic

    recitation[s] of the elements of a cause of action,” and “‘naked assertion[s]’ devoid of ‘further

    factual enhancement,’” which do not suffice to state a claim upon which relief can be granted and

    are not enough to survive a motion to dismiss. Iqbal, 556 U.S. at 678 (quoting Bell Atl. Corp. v.

    Twombly, 550 U.S. 554, 555, 557 (2007)). A Complaint alleging a conspiracy must give the Court

    a basis for inferring that the defendants were conspiring and not just engaging in “unknowingly

    parallel conduct.” Almanza v. United Airlines, Inc., 851 F.3d 1060, 1069 (11th Cir. 2017). The

    Fusion Defendants are alleged to have been hired to conduct research and to have met with the

    firm and lawyers who hired them, and to have attempted to share their research. See supra at 2–4

    (summarizing allegations concerning Fusion Defendants). The Complaint then applies “labels and

    conclusions” asserting a conspiracy. Iqbal, 556 U.S. at 678. Many of the RICO conspiracy

    defendants were working, in one way or another, for or with a campaign opposed to the Plaintiff—

    as were countless other Americans. The Complaint singles out a subset of those opposed to

    Trump’s campaign and labels their ordinary election-year campaigning and parallel conduct a

    conspiracy. But such conclusory labels and allegations can and should be ignored by the Court. In

    re Northlake Foods, Inc., 715 F.3d 1251, 1257 (11th Cir. 2013); see also Twombly, 550 U.S. at

    566–67 (“[T]he plaintiff ‘may believe the defendants conspired . . . , [but] the defendants’

    allegedly conspiratorial actions could equally have been prompted by lawful, independent goals




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    which do not constitute a conspiracy.’” (quoting Kramer v. Pollock–Krasner Foundation, 890 F.

    Supp. 250, 256 (S.D.N.Y. 1995))).

           Additionally, as explained supra at 8–9, the Complaint’s failure to properly allege a

    violation of either RICO substantive provision means the RICO conspiracy claim also must be

    dismissed. See Doria v. Class Action Servs., LLC, No. 08-cv-80512, 2008 WL 11411205, at *4

    n.9 (S.D. Fla. Oct. 30, 2008) (Middlebrooks, J.) (“[A] plaintiff alleging a violation of § 1962(d)

    must first show an overt act that is independently wrongful under a substantive provision of the

    RICO statute.”).

     II.   THE STATE LAW CLAIMS BROUGHT AGAINST THE FUSION DEFENDANTS
           ALSO FAIL.

           A. The Conspiracy to Commit Injurious Falsehood Claim Is Untimely,
              Constitutionally Invalid, and Lacking Key Elements of the Tort.

           The tort of “[i]njurious falsehood essentially concerns ‘intentional interference with

    another’s economic relations’” and it is appropriately brought by a plaintiff asserting “damage to

    property . . . [or] damage to business interests from disparagement reflecting upon the business’[s]

    existence or character, or the manner in which the business is conducted.” Leavitt v. Cole, 291 F.

    Supp. 2d 1338, 1342 (M.D. Fla. 2003) (quoting Salit v. Ruden, McClosky, et al., P.A., 742 So. 2d

    381, 386 (Fla. 4th Dist. Ct. App. 1999)). Count IV fails to state a claim for conspiracy to commit

    injurious falsehood against the Fusion Defendants.

           First, the claim has been brought outside the applicable statutes of limitations. A claim for

    conspiracy fails when the underlying tort alleged is outside its statute of limitations, see Ovadia v.

    Bloom, 756 So.2d 137, 140–41 (Fla. 3d Dist. Ct. App. 2000) (citing Orlando Sports Stadium, Inc.

    v. Sentinel Star Co., 316 So.2d 607, 609 (Fla. 4th Dist. Ct. App. 1975)); Alhassid v. Bank of Am.,

    N.A., 60 F. Supp. 3d 1302, 1317 (S.D. Fla. 2014) (holding that where underlying tort claims “[do]

    not survive [a] Motion to Dismiss, they cannot substantiate [a] civil conspiracy claim”). Florida
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    allows just two years from publication for an injurious falsehood claim. ADT LLC v. Vivint, Inc.,

    No. 17-cv-80432, 2017 WL 5640725, at *6 & n.8 (S.D. Fla. Aug. 3, 2017) (Middlebrooks, J.)

    (equating “injurious falsehood” with “trade slander” and applying two-year statute of limitations

    to such claims); Ashraf v. Adventist Health Sys./Sunbelt, Inc., 200 So.3d 173, 174 (S.D. Fla. 2016)

    (two-year limit for slander actions runs from publication); Fla. Stat. Ann. § 95.11(4)(g). A claim

    alleging civil conspiracy also fails when it is not brought within four years from the date that the

    plaintiff “either knows or should know that the last element of the cause of action occurred.”

    Wilder v. J.P. Morgan Chase Bank, N.A., No. 18-cv-20820, 2018 WL 5629922, at *2 (S.D. Fla.

    Oct. 30, 2018) (quoting Lesti v. Wells Fargo Bank, N.A. 980 F. Supp. 2d 1311, 1320 (M.D. Fla.

    2013)). This is the same starting point and length of time as the RICO claims discussed above, and

    Trump’s October 29, 2017 tweets alleging a conspiracy again show that he knew all the facts he

    purports to allege here over four years before filing this suit.

            The facts alleged in the Complaint are all over four years old. The Complaint describes no

    publications, statements, or even activity by the Fusion Defendants later than early 2017 in

    anything more than conclusory fashion. The only post-January 2017 allegation concerning Fusion

    Defendants is that they have allegedly “continued their collective mission to fabricate evidence

    and disparage Donald J. Trump . . . well after Trump won the 2016 election.” Id. ¶ 252. Beyond

    statements about alleged funding for this mission, id. ¶¶ 253–54, the Complaint does not say when,

    where, or how the Fusion Defendants continued this supposed mission. There is no allegation that

    they published anything within the two years prior to the filing of this lawsuit. These post-election

    allegations amount to nothing more than conclusory assertions of an ongoing injury, which may

    be ignored like any other conclusory allegations. See Randall v. Scott, 610 F.3d 701, 709 (11th

    Cir. 2010) (“[C]onclusory allegations . . . are not entitled to an assumption of truth . . . .”); see also


                                                       12
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    In re Takata Airbag Prods. Liability Litig., No. 14-cv-24009, 2016 WL 11662171, at *14 (S.D.

    Fla. Sept. 30, 2016) (noting that “conclusory allegations” do not impact the running of a statute of

    limitations). Because all the alleged conduct occurred and was known to Trump over four years

    ago, the Complaint fails to plausibly allege that the underlying tort alleged (injurious falsehood)

    has been brought within its two-year statute of limitations or that the conspiracy claim has been

    brought within its four-year conspiracy limitations period.

            Second, any statements made by the Fusion Defendants concerning candidate or President

    Trump at any point are protected under the First Amendment. See Buckley v. Valeo, 424 U.S. 1,

    14 (1976) (per curiam); see also Clinton Br. at 15. A public official cannot recover damages for

    defamatory falsehoods relating to official conduct without proving—or, at this stage, plausibly

    alleging—that the falsehoods were made with “actual malice.” New York Times Co. v. Sullivan,

    376 U.S. 254, 279–80 (1964). Trump’s suggestions that the Fusion Defendants acted with actual

    malice consist entirely of conclusory assertions that unspecified information was untrue, see, e.g.,

    Compl. ¶ 70 (stating that Fusion’s “true task was to prepare a fraudulent ‘dossier’”); id. ¶ 131

    (referencing “false information”); id. ¶ 165 (referencing “disinformation”), and equally conclusory

    allegations of actual malice, see, e.g., id. ¶¶ 351, 362, 373. These are simply “formulaic

    recitation[s] of the elements of a cause of action,” that fail to state a claim. Iqbal, 556 U.S. at 678. 8



    8
      Although a plaintiff’s facts are accepted as true at this stage, it should be noted that many of the
    premises underlying Trump’s alleged falsehoods concerning the relationship among Russia,
    Trump, and the Trump Campaign were later substantiated by the findings of multiple federal
    investigations. The Treasury Department identified a “known Russian Intelligence Services
    Agent,” Konstantin Kilimnik, as having “provided the Russian Intelligence Services with sensitive
    information on polling and campaign strategy,” that Special Counsel Robert Mueller’s
    investigation had previously determined Kilimnik obtained from Trump Campaign official Paul
    Manafort. Press Release, U.S. Dep’t of the Treasury, Treasury Escalates Sanctions Against the
    Russian Government’s Attempts to Influence U.S. Elections (Apr. 15, 2021), https://home.treasury
    .gov/news/press-releases/jy0126; Robert S. Mueller, III, Report on the Investigation into Russian
    Interference in the 2016 Presidential Election (“Mueller Report”), 130–31 (Vol. 1, March 2019),
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           Third, Trump also fails to properly plead a number of the required elements for injurious

    falsehood under Florida law. These elements under Florida law are “(1) a falsehood; (2) published

    or communicated to a third party; (3) the Defendant kn[e]w that the falsehood would likely induce

    others not to deal with the Plaintiff; (4) the falsehood did play a material and substantial part in

    inducing others not to deal with the Plaintiff; and (5) special damages.” Kanarick v. GE Credit

    Retail Bank Care Credit, No. 13-cv-80039, 2013 WL 12092479, at *4 (S.D. Fla. Sept. 6, 2013).

    The Complaint entirely ignores the economic nature of the third and fourth elements’ requirements

    concerning “others not [dealing] with the Plaintiff.” Id. Injurious falsehood involves holding a

    person who “disparage[es] . . . the quality of another’s land, chattels or intangible things”

    accountable for “pecuniary loss resulting . . . from the impairment of vendibility.” Lehman v.

    Goldin, 36 So. 2d 259, 260 (Fla. 1948) (quoting the Restatement of Torts § 624 (1938)); see also

    Salit v. Ruden, McClosky, Smith, Schuster & Russell, P.A., 742 So. 2d 381, 387 (Fla. Dist. Ct. App.

    1999) (“[A]ny kind of legally protected property interest which is capable of being sold or

    transferred may be the subject of disparagement.”). The statements Trump alleges were false did

    not touch in the least on any of his property interests, nor does he allege anywhere that the Fusion

    Defendants—or any others—anticipated that anything they were doing or saying “would likely

    induce others not to deal with the Plaintiff” with regard to property or money. The Complaint itself

    alleges that Fusion aimed to “ruin[] [Trump]’s opportunity to be elected and . . . to properly serve

    as President,” 9 Compl. ¶ 70, not to ruin the Trump Organization or Trump’s personal finances.



    https://www.justice.gov/storage/report.pdf. The Special Counsel also established that “Russia
    interfered in the 2016 presidential election” and “favored presidential candidate Donald J. Trump.”
    Mueller Report at 1. The Senate Intelligence Committee reached the same conclusion. Russian
    Active Measures Campaigns and Interference in the 2016 U.S. Election, S. Rep. 116-290, vol. 2,
    at 32 (2020), https://www.intelligence.senate.gov/sites/default/files/documents/Report_Volume2.pdf.
    9
      These unquantifiable “opportunit[ies]” are not “intangible things” under the definition given in
    the Restatement of Torts, which the Florida Supreme Court adopted in Lehman. The “intangible
                                                    14
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           Nor does the Complaint adequately allege any of Trump’s damages were directly caused

    by the Defendants’ supposed conduct. The Complaint’s periodic references to lost “business

    opportunities,” e.g., id. ¶¶ 263, 354, are again conclusory recitations of the elements of a claim,

    Iqbal, 556 U.S. at 678, and bear no connection to Trump’s overall narrative of harm to his political

    fortunes. Furthermore, even if the Complaint had adequately identified Trump’s lost business

    opportunities, they could not plausibly be directly attributed to Defendants’ conduct to the

    exclusion of unrelated negative press coverage or controversial statements and decisions that

    Trump and his surrogates made during his campaign and presidency. 10 This, too, is fatal to the

    injurious falsehood claims because “[s]pecial damages require proof that the loss is directly

    attributed to defendants conduct and the loss is not to be explained by other considerations.”

    Wound Care Concepts, Inc. v. Vohra Health Servs., P.A., No. 19-cv-62078, 2022 WL 320952, at

    *14 (S.D. Fla. Jan. 28, 2022) (citing Salit, 742 So. 2d at 386); see also id. (“Defendants fail to

    show that Plaintiffs’ actions were the sole cause of Defendants[’] losses, which is a requirement

    to establish special damages.”).

           Finally, even if the underlying claim for injurious falsehood were adequately pled—which

    it is not—the conspiracy claim would still fail. As was the case for the RICO conspiracy claim, a

    conspiracy among parties is not alleged in any detail but is instead asserted in conclusory terms.


    things” described there are “interests recognized by the law of property which are salable or
    otherwise capable of profitable disposal.” Restatement of Torts § 624, special note c (“It may be a
    mortgage, lease, easement, reversion or remainder, . . . a trust or other equitable interest
    therein[,] . . . . a patent right, a copyright or the right to use a trademark or trade name[,] . . . .
    intangible property whether represented and embodied in a document, negotiable or otherwise, or
    consisting of a simple debt or other cause of action.”).
    10
       The Complaint’s lone purported example of a lost business opportunity—Trump’s 2021 loss of
    access to his Twitter account, Compl. at n.78—was quite famously prompted by his own conduct
    in the aftermath of the 2020 election, not Defendants’ conduct in 2016. Kate Conger & Mike Isaac,
    Inside Twitter’s Decision to Cut off Trump, N.Y. Times (Jan. 16, 2021), https://www.nytimes.com/
    2021/01/16/technology/twitter-donald-trump-jack-dorsey.html.

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           B. The Malicious Prosecution Claims Fails Because Trump Has Not Been
              Prosecuted.

           Under Florida law, a plaintiff claiming malicious prosecution must establish:

           (1) an original judicial proceeding against the present plaintiff was commenced or
           continued; (2) the present defendant was the legal cause of the original proceeding;
           (3) the termination of the original proceeding constituted a bona fide termination of
           that proceeding in favor of the present plaintiff; (4) there was an absence of
           probable cause for the original proceeding; (5) there was malice on the part of the
           present defendant; and (6) the plaintiff suffered damages as a result of the original
           proceeding.

    Melford v. Kahane & Assocs., 371 F. Supp. 3d 1116, 1123–24 (S.D. Fla. 2019) (citing Alamo Rent-

    A-Car, Inc. v. Mancusi, 632 So.2d 1352, 1355 (Fla. 1994)). The Complaint identifies no such

    proceeding, nor has one been brought against Trump in connection with the allegations at issue.

    “An action for malicious prosecution . . . [can] never occur outside the context of litigation.”

    Fischer v. Debrincat, 169 So. 3d 1204, 1209 (Fla. Dist. Ct. App. 2015), approved, 217 So. 3d 68

    (Fla. 2017). The remaining elements accordingly fail as well. 11 Count VI’s conspiracy claim

    likewise fails because, yet again, the conspiracy is asserted in only conclusory fashion, and a

    conspiracy claim cannot survive absent a viable claim for the underlying tort. Ovadia, 756 So.2d

    at 140–41; Alhassid, 60 F. Supp. 3d at 1317. 12

           C. “Respondeat Superior/Vicarious Liability” Is Not a Cause of Action.

           Finally, Trump’s claim against Fusion itself for “Respondeat Superior” or “Vicarious




    11
       Even if the “Crossfire Hurricane” investigation qualified as a proceeding—which it does not
    under Florida law because it was not a judicial proceeding—Trump could not establish the fifth
    element (among others) because an Inspector General investigation into that investigation found
    that it was properly initiated. U.S. Dep’t of Justice, Office of the Inspector General, Review of
    Four FISA Applications and Other Aspects of the FBI’s Crossfire Hurricane Investigation at 347
    (2019), https://www.justice.gov/storage/120919-examination.pdf.
    12
      Count VI is also untimely even under the four-year conspiracy statute of limitations applied in
    Florida. See supra at 11–12. All of the Complaint’s non-conclusory allegations involving the
    Fusion Defendants concern actions taken in 2016 and early 2017.
                                                      16
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    Liability” (Count XIV) fails to state a claim because respondeat superior and vicarious liability are

    not valid causes of action, but rather theories of liability. Chunhong Jia v. Boardwalk Fresh

    Burgers & Fries, Inc., 2020 WL 5628734, at *2 (M.D. Fla. Sept. 21, 2020) (“[U]nder Florida . . .

    law, respondeat superior does not constitute an independent cause of action.”) (citing Turner

    Murphy Co. v. Specialty Constructors, Inc., 659 So.2d 1242, 1245 (Fla. 1st Dist. Ct. App. 1995)).

    To the extent that Count XIV is intended to charge Fusion with vicarious liability for the malicious

    prosecution torts brought against Simpson, Fritsch, and Nellie Ohr, it fails for the same reasons as

    those underlying torts.

                                             CONCLUSION

           For all of the foregoing reasons, the Complaint should be dismissed with prejudice as to

    the Fusion Defendants.

    Dated: May 11, 2022
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                                   CERTIFICATE OF SERVICE

           I hereby certify that a copy of the foregoing was served through the Court’s electronic

    filing system on May 11, 2022 to counsel of record.

                                                                /s/ Adam S. Fels
                                                                  Adam S. Fels
